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                                  UNITED STATES DISTRICT COURT
                                       DISTRICT OF MAINE


UNITED STATES OF AMERICA,                    )
                                             )
V.                                           )         DOCKET NO. 2:21-CR-00172-JAW
                                             )
JESSE KIESEL                                 )



                                     MOTION TO CONTINUE TRIAL



        NOW COMES the Defendant, Jesse Kiesel, by and through counsel, John S. Webb, Esq., and moves
this Honorable Court to continue the trial currently scheduled for March 7, 2022. In support of this motion, it
is stated:


        1. That the Defendant is scheduled for trial on March 7, 2022.

        2. That Counsel has worked diligently and has one last task he is currently performing before the case
           will be ready to move forward.

        3. The Defendant, understanding his rights under the Speedy Trial Act, 18 U.S.C. §3161, agrees with,
           and consents to, the instant request and asks that the Court exclude from the speedy trial
           calculations the entire period requested within, for the reasons cited above.

        4. That AUSA Noah Falk does not object to this motion.

        WHEREFORE it is requested that this Defendant’s motion be granted and the trial be continued to
May, 2022.


        DATED at Saco, Maine on February 9, 2022


                                                                    /S/ John Scott Webb, Esq.
                                                                    John Scott Webb, Esq.
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                               CERTIFICATE OF SERVICE



       I hereby certify that on February 9, 2022, I electronically filed the MOTION TO CONTINUE

TRIAL with the Clerk of Court using the CM/ECF system, which will send notification of such filing to the

following:




                                       Unites States Attorney’s Office
                                             Noah Falk, AUSA
                                             100 Middle Street
                                             th
                                            6 floor, East Tower
                                          Portland, Maine 04101

                                           noah.falk@usdoj.gov


       DATED at Saco, Maine on February 9, 2022


                                                                   /S/ John Scott Webb, Esq.
                                                                  John Scott Webb, Esq.
